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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                           CRIMINAL NUMBER:
                 v.
                                                           1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC

        Defendant.


 DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S RESPONSE
   TO GOVERNMENT’S FILING REGARDING STATUS OF DISCOVERY AND
                     OBJECTION TO SEALING

       Defendant Concord Management and Consulting LLC (“Concord”), through counsel,

respectfully submits this response to the Government’s Filing Regarding Status of Discovery (the

“Discovery Filing”) and the accompanying Motion to File Under Seal.

       While the government risks injury to its arms from patting itself on the back it fails to

advise the Court that yesterday afternoon it transmitted to undersigned counsel discovery that

included electronic data allegedly relevant to this case that was seized 18 months ago, in February

2018. In response to a question regarding this delay from undersigned counsel, the government

declined to provide any explanation. So while the Court has pressured undersigned counsel to

utilize the firewall process with respect to a potential motion to suppress, the government continues

to produce U.S. Sensitive material that should have been provided to undersigned counsel over a

year ago.




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        Further, Concord objects to the government’s request to seal the Discovery Filing and the

related Motion to Seal. The government’s pleading contains no information that should be under

seal.

 Dated: August 30, 2019                             Respectfully submitted,
                                                    CONCORD MANAGEMENT AND
                                                    CONSULTING LLC

                                                    By Counsel

                                                     /s/Eric A. Dubelier
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